          Case 3:16-cv-01345-AWT Document 156-1 Filed 02/08/19 Page 1 of 2



                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF CONNECTICUT




JOSEPH VELLALI et al.,


                             Plaintiffs,             Civil Action No.
 v.                                                  3:16-cv-01345 (AWT)


YALE UNIVERSITY AND MICHAEL A.
PEEL et al.,


                             Defendants.
                                                     February 7, 2019


                     AFFIDAVIT OF ANDREW D. SCHLICHTER


      I, Andrew D. Schlichter, under penalty of perjury, state as follows:


      1. I am an attorney with the law firm of Schlichter Bogard & Denton, LLP, with


an office located at 100 South Fourth Street, Suite 1200, St. Louis, Missouri 63102.


Telephone No.: (314) 621-6115. Fax No.: (314) 621-5934. Email:


aschlichter@uselaws .com .


      2. I am a member in good standing of the bars of Missouri (No. 58959), New


York (No. 4403267), the Southern District of Illinois (No. 58959), the Northern


District of Illinois (No. 58959), the Southern District of New York (No. AS8063), the


Northern District of New York (No. 520235), the Eastern District of New York (No.


AS8522), and the U.S. Supreme Court.


      3. I have no pending disciplinary complaints as to which a finding has been


made that such complaint should proceed to hearing.
        Case 3:16-cv-01345-AWT Document 156-1 Filed 02/08/19 Page 2 of 2



    4. I have not been denied admission to, been disciplined by, resigned from,

surrendered my license to practice before, or withdrawn an application for

admission to practice before this Court or any other court, while facing a

disciplinary complaint.


    5. I have fully reviewed and am familiar with the Federal Rules of Civil

Procedure, the Local Rules of the United States District Court for the District of


Connecticut, and the Connecticut Rules of Professional Conduct.


    6. I have been representing the Plaintiffs with regard to this action and am


familiar with the legal and factual issues relevant to this case.


    7. I hereby designate Stuart M. Katz, Esq., of Cohen and Wolf, P.C., 1115 Broad


Street, Bridgeport, Connecticut 06604, and/or other attorneys of Cohen and Wolf,


P.C. who have appeared or who may appear herein, as my agent for service of


process and the District of Connecticut as the forum for the resolution of any


dispute arising out of my admission.




                                                 Andrew D. Schlichter



      Subscribed and sworn to be before me this 7th day of February, 2019.

                                                                               r




                                                       m/A       /1 . OcX'qLlll£
                                                 Notary Public



              BARBARA A. RODERICK
             Notary Public - Notary Seal
                STATE OF MISSOURI
             Comm. Number 14425986
                 St. Louis County
          My Commission Expires: Dec. 15, 2022
